3:22-cv-03071-CRL-KLM # 57-4   Filed: 05/10/24   Page 1 of 25




               EXHIBIT O
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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                           My Activity

                   menthol                                                                                      more_vert
     Delete activity by
                Filter by date & product
     Other activity

           Mar 23 – Apr 18               Search
     Activity controls

     Google Account

             April 18
     Help & feedback
                   Search

             Visited SUPPLEMENT TO CITIZEN PETITION - Public Health Law Center
             12:09 AM • Details




             April 16

                   Search

             Visited By Hand Mr. David Vladeck, Director Bureau of Consumer ...
             3:54 PM • Details




             April 13

                   Search

             Searched for menthol corn mint production
             7:59 PM •    • Details



                   Search



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https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19               1/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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                                                                                    Activity    Page 3 of 25
             Visited Council of Scientific & Industrial Research | Welcome -
             csir.res.in My Activity
             7:54 PM • Details


     Delete activity by
                Search
     Other Visited
           activity https://www.tpci.in/indiabusinesstrade/blogs/menthol-exports-is-in-
             dias-dominance-under-threat/
     Activity controls
             7:53 PM • Details
     Google Account
                   Search
     Help &Visited
            feedback
                   Growing Trend Of Procurement Of Natural Menthol Crystals
             Instead ...
             7:53 PM • Details



                   Search

             Searched for india global menthol
             7:53 PM •    • Details



                   Search

             Searched for mentha oil menthol
             7:47 PM •    • Details



                   Search

             Visited Menthol - Wikipedia
             7:39 PM • Details




                   Search

             Searched for menthol compound
             7:38 PM •    • Details



                Search
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https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   2/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             Searched for menthol "other fractions"
                           My Activity
             7:37 PM •    • Details



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     Delete activity by
             Searched for menthol fraction
     Other activity
             7:37 PM •    • Details

     Activity controls
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     Google Account
             Searched for menthol "cornmint" fraction

     Help &7:36 PM •
            feedback • Details



                   Search

             Visited Isolation, chemical composition, antioxidant and ... - CORE
             7:36 PM • Details



                   Search

             Visited Mint Terpenes : food additives, perfumery and aromatherapy
             - Mane ...
             7:36 PM • Details



                   Search

             Visited Cornmint oil fractions Imports in World - Import data with price, buyer ...
             7:36 PM • Details



                   Search

             Visited Menthol | C10H20O | CID 1254 - PubChem
             7:35 PM • Details




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https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   3/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             Searched for menthol production "isolate" "fractional distillation"
                           My Activity
             7:22 PM •    • Details



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     Delete activity by
             Visited effa-guidance-document-on-the-ec-regulation-on-flavourings ...
     Other activity
             7:22 PM • Details

     Activity controls
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     Google Account
             Visited A status review of terpenes and their separation methods - De Gruyter

     Help &7:21 PM • Details
            feedback

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             Visited American chemical journal - University of Illinois Library
             7:21 PM • Details



                   Search

             Visited Secrets of Methamphetamine Manufacture 8th Edition - WikiLeaks
             7:20 PM • Details



                   Search

             Visited MONOGRAPH MONOGRAFIA - Politechnika Krakowska
             7:17 PM • Details



                   Search

             Searched for menthol production "isolate" "fractional distillation" solvent
             7:17 PM •    • Details



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             Searched for menthol production "isolate" compound "fractional distillation"
             solvent
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5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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                   SearchMy Activity

             Searched for menthol production isolate compound "fractional distillation"
             solvent
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             7:16 PM •    • Details

     Other activity
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     Activity controls
             Visited Extraction Technologies for Medicinal and Aromatic Plants | UNIDO
     Google7:14
             Account
                PM • Details



               Search
     Help & feedback

             Visited Natural Peppermint Mentha Oils - Allin Exporters
             7:14 PM • Details




                   Search

             Visited Quality Flavours Export
             7:13 PM • Details



                   Search

             Searched for menthol production isolate compound fractional distillation
             solvent
             7:13 PM •    • Details



                   Search

             Visited MENTHOL - Googleapis.com
             7:12 PM • Details



                   Search

             Visited STUDY ON EXTRACTION OF MINT OIL FROM MINT ... - IJCRT.org
             7:11 PM • Details

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5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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                   SearchMy Activity

             Visited WORLD JOURNAL OF PHARMACEUTICAL RESEARCH
             7:09 PM • Details
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     Other activity

            Visited
     Activity       Processing of Mint & Mint Products - Niftem
              controls
             7:08 PM • Details
     Google Account

                   Search
     Help & feedback
             Searched for menthol production isolate compound distillation india
             7:08 PM •    • Details



                   Search

             Visited Essential Oil Composition and Menthol Production of Mint Types ...
             7:07 PM • Details



                   Search

             Visited http://www.rxchemicals.com/product/menthol
             7:07 PM • Details



                   Search

             Visited Chemical Profile and Extraction Technique of Oil of Mentha Arvensis ‎
             7:06 PM • Details



                   Search

             Visited MENTHOLS - OECD Existing Chemicals Database
             7:05 PM • Details



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https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   6/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             Visited Menthol - Wikipedia
                           My Activity
             7:05 PM • Details




     Delete activity by
                Search

     Other Visited
           activity .: DISTILLATION AND PROCESSING OF MENTHA OIL IN INDIA

            7:04
     Activity    PM • Details
               controls

     Google Account
               Search

             Visited Evaluation of Mentha arvensis essential oil and its major ... - NCBI
     Help & feedback
             7:03 PM • Details



                   Search

             Visited US2662052A - Separation of menthol from mint oils by a fractional ...
             7:02 PM • Details



                   Search

             Visited Extraction, production and analysis techniques for menthol: A review
             7:02 PM • Details



                   Search

             Searched for menthol production isolate compound distillation
             7:02 PM •    • Details



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             Visited US20040058422A1 - Process for preparing (-)- menthol and
             similar ...
             7:02 PM • Details



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5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             Visited Menthol: A simple monoterpene with remarkable biological
             propertiesMy Activity
             7:01 PM • Details


     Delete activity by
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     Other Searched
           activity for menthol production isolate compound
     Activity  controls
            7:01 PM •   • Details


     Google Account
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             Visited Processing of Mint & Mint Products - Niftem
     Help & feedback
             2:29 PM • Details



                   Search

             Visited MINT - National Horticulture Board
             2:29 PM • Details




                   Search

             Visited Menthol Mint Spreads the Smell of CSIR's Success - MyGov
             Blogs
             2:26 PM • Details



                   Search

             Visited NEW PRACTICES IN THE CULTIVATION OF THE MINT, MENTHA ...
             2:25 PM • Details



                   Search

             Visited Assessing and Mitigating Climate Change Risks to Mint ... - MIT Sloan
             2:22 PM • Details



                   Search
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             Visited Plant Profile - Vikaspedia

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5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             2:21 PM • Details

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             Searched for menthol production india cornmint
     Delete activity by
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     Other activity
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     Activity controls
             Searched for menthol
     Google Account
             1:50 PM •    • Details


     Help & feedback
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             Searched for menthol production india
             1:49 PM •    • Details



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             Visited Characteristics of menthol mint Mentha arvensis cultivated
             on ...
             1:49 PM • Details



                   Search

             Searched for menthol production india
             1:49 PM •    • Details



                   Search

             Visited The Story of India's Mint Oils and Menthol | Perfumer &
             Flavorist
             1:48 PM • Details



                   Search

             Visited Mint, Menthol crystals & Isolates - Manufacturers of the
             purest ...
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             1:47 PM • Details


https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   9/24
5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
                                                                        Google  05/10/24
                                                                                   Activity    Page 11 of 25

                   SearchMy Activity

             Visited Processing of Mint & Mint Products - Niftem
             1:47 PM • Details
     Delete activity by

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     Other activity

            Visited
     Activity       Menthol Crystal - IPP Layout
              controls
             1:46 PM • Details
     Google Account

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     Help & feedback
             Visited MINT - National Horticulture Board
             1:45 PM • Details




                   Search

             Searched for how is menthol made
             1:45 PM •    • Details



                   Search

             Visited Menthol - Molecule of the Month - August 2007 - HTML-only
             version
             1:44 PM • Details



                   Search

             Visited MANUFACTURE OF MENTHOL Utility Menthol is used in liquors ...
             1:42 PM • Details



                   Search

             Visited Council of Scientific & Industrial Research | Welcome -
             csir.res.in
             12:20 PM • Details

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5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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             Visited Processing of Mint & Mint Products - Niftem
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            Visited
     Activity       MINT - National Horticulture Board
              controls
             12:17 PM • Details
     Google Account


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     Help & feedback
             Visited Agronomy | Free Full-Text | Estimating the Crop Acreage of
             Menthol ...
             12:16 PM • Details



                   Search

             Visited Peppermint Productivity and Oil Composition as a Function of ...
             12:15 PM • Details



                   Search

             Visited Mentha cultivation - JNKVV Jabalpur
             12:15 PM • Details



                   Search

             Searched for "switzerland" menthol production
             12:14 PM •     • Details



                   Search

             Visited https://www.tpci.in/indiabusinesstrade/blogs/menthol-exports-is-in-
             dias-dominance-under-threat/
             12:03 PM • Details

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https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   11/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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                   SearchMy Activity

             Visited https://oec.world/profile/hs/menthol?redirect=true
             12:02 PM • Details
     Delete activity by

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     Other activity

            Searched
     Activity controls for world production of menthol by country
             12:02 PM •     • Details
     Google Account

                   Search
     Help & feedback
             Searched for production of menthol by country
             12:02 PM •     • Details



                   Search

             Visited Most Of The World's Mint Comes From This Country - Tasting
             Table
             12:02 PM • Details



                   Search

             Visited Menthol Crystal - IPP Layout
             12:01 PM • Details



                   Search

             Visited The five most traded compounds worldwide: importance ...
             12:00 PM • Details



                   Search

             Visited Menthol crystal Exports from World - Export data with price, buyer ...
             12:00 PM • Details



                   Search
     Privacy • Terms
             Searched for global production of menthol by country
https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   12/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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             12:00 PM •     • Details
                           My Activity
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     DeleteVisited
            activityCharacteristics
                    by              of menthol mint Mentha arvensis cultivated
             on ...
     Other activity
             11:59 AM • Details

     Activity controls
                Search
     Google Account
             Visited Menthol - ECSA Chemicals
             11:59 AM • Details
     Help & feedback


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             Visited Menthol Market | Global Industry Report, 2030
             11:58 AM • Details



                   Search

             Searched for global production of menthol
             11:58 AM •     • Details



                   Search

             Visited About Us: Herbs In Bareilly - Our Story And Commitment
             11:44 AM • Details




                   Search

             Visited The farmers in focus - Symrise
             11:43 AM • Details




                   Search

     PrivacyVisited
             • TermsConstraints analysis of mint plant (Mentha spp.) growers in central ...

https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   13/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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             11:42 AM • Details

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             Visited How about 'mint'ing some money? - The Dollar Business
     Delete activity by
             11:40 AM • Details
     Other activity

     Activity controls
                Search

     GoogleSearched
            Account for "Uttar Pradesh" "menthol" processing

             11:40 AM •     • Details

     Help & feedback
                   Search

             Visited Gap Analysis in Adoption of Scientific Mentha (Mentha aravensis ...
             11:39 AM • Details



                   Search

             Visited Synthetic influx - Down To Earth
             11:38 AM • Details




                   Search

             Searched for "Uttar Pradesh" "menthol"
             11:37 AM •     • Details



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             Searched for Uttar Pradesh "menthol"
             11:37 AM •     • Details



                   Search

             Visited Neeru Menthol Private Limited
             11:36 AM • Details

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5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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                                                                                   Activity    Page 16 of 25

                   SearchMy Activity

             Visited Economic Analysis of Menthol Mint Cultivation in Uttar ... - CORE
             11:36 AM • Details
     Delete activity by

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     Other activity

            Visited
     Activity       Council of Scientific & Industrial Research | Welcome -
              controls
             csir.res.in
     Google11:36
            Account
                 AM • Details



               Search
     Help & feedback

             Visited Marketing Channel of Menthol Mint (Mentha) in Sitapur district,Uttar ...
             11:35 AM • Details



                   Search

             Searched for menthol production "large scale" "processing"
             11:34 AM •     • Details



                   Search

             Searched for menthol production large scale "processing" "purification"
             11:34 AM •     • Details



                   Search

             Visited MENTHOLS - OECD Existing Chemicals Database
             11:32 AM • Details



                   Search

             Searched for india menthol production large scale "processing" "purification"
             11:32 AM •     • Details



                   Search
     Privacy • Terms
             Visited Natural and synthetic menthol | Request PDF - ResearchGate
https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   15/24
5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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             11:32 AM • Details
                           My Activity
                   Search

     DeleteVisited
            activityhttps://www.guidechem.com/question/is-the-demand-for-dl-menthol-i-
                    by
             id146057.html
     Other activity
             11:31 AM • Details

     Activity controls
                Search
     Google Account
             Searched for india menthol production large scale "processing"
             11:31 AM •     • Details
     Help & feedback

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             Visited Synthetic Mentha and govt policies are a challenge ... -
             Sugandh India
             11:29 AM • Details



                   Search

             Visited .: DISTILLATION AND PROCESSING OF MENTHA OIL IN INDIA
             11:29 AM • Details



                   Search

             Visited Agronomy | Free Full-Text | Estimating the Crop Acreage of
             Menthol ...
             11:28 AM • Details



                   Search

             Visited Production and trade of menthol mint in India: Problems and prospects
             11:27 AM • Details



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5/10/24, 1:27 PM          3:22-cv-03071-CRL-KLM # 57-4                  Filed:- My
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             Visited Menthol Consultants, Menthol Distillation India
                           My Activity
             11:27 AM • Details




     Delete activity by
                Search

     Other Visited
           activity Potential of Indian Menthol Mint Oil in Production and Export: a ...

            11:26
     Activity     AM • Details
              controls

     Google Account
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           Visited Natural Menthol Mint Oil Production in India: Role of ... -
     Help &ResearchGate
            feedback

             11:26 AM • Details



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             Visited MINT - National Horticulture Board
             11:26 AM • Details




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             Searched for india menthol production large scale
             11:25 AM •     • Details



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             Searched for india menthol production
             11:25 AM •     • Details



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             Visited Growing Trend Of Procurement Of Natural Menthol Crystals
             Instead ...
             11:23 AM • Details




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             April 10
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                   SearchMy Activity

             Visited Limitations: The adverse event and product problem reports ... - FDA
     Delete8:12
            activity  by
                PM • Details


     Other activity

            April
     Activity     1
              controls

     Google Account
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             Visited Ricola Soothe & Clear Original Swiss Herb Menthol Lozenges
     Help & feedback
             75g ...
             3:16 PM • Details




             March 31

                   Search

             Searched for "menthol lozenge" "formulation"
             10:44 PM • Details



                   Search

             Searched for "menthol lozenge" "weight" "formulation"
             10:43 PM • Details



                   Search

             Searched for "menthol lozenge" "active ingredient" "inactive ingredients"
             "weight" "formulation"
             10:42 PM • Details



                   Search

            Searched for menthol lozenges "active ingredient" "inactive ingredients"
     Privacy"weight"
             • Terms "formulation"


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5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             10:42 PM • Details

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             March 30
     Delete activity by
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     Other activity
             Searched for "natural menthol"
     Activity controls
             7:54 PM • Details

     Google Account
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     Help &Searched
            feedback for "menthol" "pharmaceutical grade"

             7:51 PM • Details



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             Searched for "menthol" "pharmaceutical grade" india
             7:50 PM • Details



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             Searched for "natural menthol" "pharmaceutical grade" india
             7:50 PM • Details



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             Searched for "natural menthol" "pharmaceutical grade" india
             7:50 PM • Details



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             Searched for "natural menthol" "pharmaceutical grade"
             7:50 PM • Details



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             https://pulse.clickguard.com/gads/at/accD7iU9MDbFJ/asti2xB3N6aIM/ada59wG

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             Qs4jF9?tm=tt&cid=441769226&agid=28401049106&a...
                           My Activity
             7:49 PM • Details



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             Searched for "menthol" "pharmaceutical grade"
     Other activity
             7:49 PM • Details

     Activity controls
               Search
     Google Account
             Searched for "menthol" distillation "pharmaceutical grade"

     Help &7:48 PM • Details
            feedback

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             Visited Extraction Technologies for Medicinal and Aromatic Plants | UNIDO
             7:47 PM • Details



                   Search

             Searched for "menthol" "solvent" "india" distillation "pharmaceutical grade"
             7:47 PM • Details



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             Searched for "menthol" "solvent" "india" distillation pharmaceutical grade
             7:47 PM • Details



                   Search

             Searched for "menthol" "solvent" "india" distillation
             7:47 PM • Details



                   Search

             Visited Processing and Quality Evaluation of Menthol Mint Oil | PDF
             7:45 PM • Details

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5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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                   SearchMy Activity

             Visited Essential Oil Composition and Menthol Production of Mint Types ...
             7:44 PM • Details
     Delete activity by

                Search
     Other activity

            Visited
     Activity       Extraction of Menthol using Different Methods from Peppermint Oil
              controls
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     Google Account

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     Help & feedback
             Visited Menthol Consultants, Menthol Distillation India
             7:43 PM • Details




                   Search

             Searched for "menthol" "solvent" "india"
             7:43 PM • Details



                   Search

             Visited MENTHOLS - OECD Existing Chemicals Database
             7:41 PM • Details



                   Search

             Searched for "menthol" "solvent" "processing"
             7:40 PM • Details



                   Search

             Searched for "menthol" "solvent" "processing" "not natural"
             7:40 PM • Details



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     Privacy • Terms
             Searched for "menthol" "synthetic" "processing" "not natural"
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5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
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             7:40 PM • Details
                           My Activity
                   Search

     DeleteSearched
            activity byfor "menthol" "synthetic" "processing" "not natural" "supplier"
             7:38 PM • Details
     Other activity

                Search
     Activity controls
             Searched for "menthol" "india" "not natural" "supplier"
     Google Account
             7:38 PM • Details


     Help & feedback
               Search

             Searched for "menthol" "india" "not natural"
             7:37 PM • Details




             March 23

                   Search

             Searched for menthol lozenge formulation
             2:17 PM • Details



                   Search

             Searched for menthol lozenge manufacture
             2:16 PM • Details



                   Search

             Searched for usp menthol lozenge formulation
             2:16 PM • Details



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https://myactivity.google.com/myactivity?pli=1&q=menthol&min=1711166400000000&max=1713499199999999&product=19   22/24
5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4                   Filed:- My
                                                                        Google  05/10/24
                                                                                   Activity    Page 24 of 25
             Visited Untitled
                           My Activity
             2:15 PM • Details



                Search
     Delete activity by
             Visited 2340 Supplementary Drugs and Other Substances
     Other activity
             2:15 PM • Details

     Activity controls
               Search
     Google Account
             Visited L-Menthol - BASF Pharma

     Help &2:14 PM • Details
            feedback

                   Search

             Searched for menthol lozenge formulation weight manufacture
             2:10 PM • Details



                   Search

             Searched for menthol lozenge formulation weight
             2:09 PM • Details



                   Search

             Searched for throat menthol lozenge formulation percentage mass
             1:52 PM • Details



                   Search

             Searched for throat menthol lozenge formulation percentage mass
             1:51 PM • Details



                   Search

             Searched for usp menthol lozenge
             1:48 PM • Details

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5/10/24, 1:27 PM         3:22-cv-03071-CRL-KLM # 57-4 GoogleFiled:- My
                                                                    05/10/24
                                                                       Activity                Page 25 of 25
                                        Looks like you've reached the end
                           My Activity


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